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                                        #:2288

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   11
      Attorneys for Plaintiffs Skot Heckman,
   12 Luis Ponce, Jeanene Popp, and Jacob
      Roberts, on behalf of themselves and all
   13 those similarly situated
   14
                            UNITED STATES DISTRICT COURT
   15
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   16
      Skot Heckman, Luis Ponce, Jeanene            CASE NO. 2:22-cv-00047-GW-GJS
   17 Popp, and Jacob Roberts, on behalf of
      themselves and all those similarly           DECLARATION OF WILLIAM R.
   18 situated,                                    SEARS IN SUPPORT OF
                                                   PLAINTIFFS’ RESPONSE IN
   19              Plaintiffs,                     OPPOSITION TO DEFENDANTS’
                                                   MOTION TO COMPEL
   20        v.                                    ARBITRATION
   21 Live Nation Entertainment, Inc., and         The Honorable George H. Wu
      Ticketmaster LLC,
   22                                              Hearing Date: May 1, 2023
                  Defendants.
   23                                              Hearing Time: 8:30 a.m.
   24
   25
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   27
   28
                                                          DECLARATION OF WILLIAM R. SEARS ISO
                                                            PLAINTIFFS’ RESPONSE IN OPPOSITION
                                                                   CASE NO. 2:22-cv-00047-GW-GJS
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    1 I, William R. Sears, declare as follows:
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             1.    I am a partner at the law firm of Quinn Emanuel Urquhart & Sullivan,
    3
      LLP, attorneys for Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and Jacob
    4
      Roberts (collectively, “Plaintiffs”). I am an attorney in good standing in the State of
    5
      California. I am making this Declaration in support of Plaintiffs’ Application for
    6
      Leave to File Documents Under Seal. I have personal knowledge of the facts set
    7
      forth below; if called upon to do so, I can and will competently testify thereto.
    8
             2.    Attached hereto as Exhibit A is a true and correct copy of the American
    9
      Arbitration Association’s Consumer Due Process Protocol Statement of Principles,
   10
      dated April 17, 1998.
   11
             3.    Attached hereto as Exhibit B is a true and correct copy of the JAMS
   12
      Policy on Consumer Arbitrations Pursuant to Pre-Dispute Clauses Minimum
   13
      Standards of Procedural Fairness, effective July 15, 2009.
   14
             4.    Attached hereto as Exhibit C is a true and correct copy of the transcript
   15
      of Collin Williams’s deposition testimony, taken on January 24, 2023.
   16
             5.    Attached hereto as Exhibit D is a true and correct copy of the transcript
   17
      of Kimberly Tobias’s deposition testimony, taken on January 26, 2023.
   18
             6.    Attached hereto as Exhibit E is a true and correct copy of Collin
   19
      Williams’s Declaration on Behalf of New Era ADR, INC., signed on January 17,
   20
      2023.
   21
             7.    Attached hereto as Exhibit F is a true and correct copy of an email
   22
      communication produced in discovery by New Era bearing bates number
   23
      NEWERA_000227.
   24
             8.    Attached hereto as Exhibit G is a true and correct copy of an email
   25
      communication produced in discovery by New Era bearing bates number
   26
      NEWERA_000780.
   27
   28                                                      DECLARATION OF WILLIAM R. SEARS ISO
                                                  2          PLAINTIFFS’ RESPONSE IN OPPOSITION
                                                                    CASE NO. 2:22-cv-00047-GW-GJS
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                                   #:2290

    1       9.    Attached hereto as Exhibit H is a true and correct copy of an email
    2 communication produced in discovery by New Era bearing bates number
    3 NEWERA_000239.
    4       10.   Attached hereto as Exhibit I is a true and correct copy of an email
    5 communication produced in discovery by New Era bearing bates number
    6 NEWERA_000241.
    7       11.   Attached hereto as Exhibit J is a true and correct copy of an email
    8 communication produced in discovery by New Era bearing bates number
    9 NEWERA_000593.
   10       12.   Attached hereto as Exhibit K is a true and correct copy of an email
   11 communication produced in discovery by New Era bearing bates number
   12 NEWERA_000020.
   13       13.   Attached hereto as Exhibit L is a true and correct copy of an email
   14 communication produced in discovery by New Era bearing bates number
   15 NEWERA_000742.
   16       14.   Attached hereto as Exhibit M is a true and correct copy of an email
   17 communication produced in discovery by New Era bearing bates number
   18 NEWERA_000106.
   19       15.   Attached hereto as Exhibit N is a true and correct copy of an email
   20 communication produced in discovery by New Era bearing bates number
   21 NEWERA_000701.
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   28                                                DECLARATION OF WILLIAM R. SEARS ISO
                                             3         PLAINTIFFS’ RESPONSE IN OPPOSITION
                                                              CASE NO. 2:22-cv-00047-GW-GJS
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                                    #:2291

    1       I declare under penalty of perjury that the foregoing is true and correct.
    2
    3       Executed on March 17, 2023
    4                                               /s/ William R. Sears
    5                                                 William R. Sears
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   28                                                    DECLARATION OF WILLIAM R. SEARS ISO
                                                4          PLAINTIFFS’ RESPONSE IN OPPOSITION
                                                                  CASE NO. 2:22-cv-00047-GW-GJS
